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                      Via ECF and Email                                         Filed in Public Record Pursuant
                                                                                to Order at ECF 1831
                      Hon. Charles A. Legge (Ret.)
                      JAMS
                      Two Embarcadero Center, Suite 1500
                      San Francisco, CA 94111

                                   RE: In re CRT Antitrust Litigation, Case No. 07-cv-5944, MDL No. 1917
                                   This Document Relates to: Sharp Electronics Corporation, et al. v. Hitachi, Ltd.,
                                   etal. Case No. 13-cv-1173

                      Dear Special Master Legge:

                                    We write on behalf of Plaintiffs Sharp Electronics Corporation and Sharp
                      Electronics Manufacturing Company of America, Inc. ("Sharp") to reply to Thomson
                      Consumer's July 19, 2013 opposition letter.

                                      Thomson Consumer has not rebutted Sharp's fundamental arguments:
                      that delay of discovery is unnecessary, unduly prejudicial, and inefficient. Instead,
                      Thomson Consumer argues that its motion to dismiss could dispose of the whole case and
                      that the Court can resolve that motion without discovery. But discovery would, in fact,
                      address factual disputes underlying the motion to dismiss, as Sharp noted in its brief, see
                      Dkt. No. 34 at 16, and in its letter of July 5. And even Thomson Consumer concedes
                      that, where there are such factual disputes, discovery would be appropriate. See
                      Thomson Consumer Ltr. at 4.

                                      Thomson Consumer's focus on the "dispositive" nature of the motion and
                      its undue focus on a two-part test ignores a critical third element. Courts in the Ninth
                      Circuit generally stay discovery only when "convinced that a plaintiff will be unable to
                      state a claim for relief after taking a "peek" at the merits. Huene v. U.S. Dept. of
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       Treasury, I.R.S., No. ll-cv-2110, 2013 WL 417747, at *8 (E.D. Cal. Jan. 31, 2013); see
       also ETC. v. AMGServs., Inc., No. 12-cv-0536, 2012 WL 3730561 at *4 (D. Nev. Aug.
       28, 2012); Qwest Commc'ns Corp. v. Herakles, LLC, No. 07-cv-0393, 2007 WL
       2288299, at *3 (E.D. Cal. Aug. 8, 2007). Through this "peek" at the merits, the court can
       "determine whether there is any reasonable likelihood that plaintiffs can construct a
       claim," Rutman Wine Co. v.E.&J. Gallo Winery, 829 F.2d 729, 738 (9th Cir. 1987), all
       while balancing the need for efficient adjudication. See Huene, 2013 WL 417747 at *8
       ("An overly lenient standard for granting motions to stay discovery due to pending
       dispositive motions would result in unnecessary delay in many cases."). As Sharp
       demonstrated in its initial letter, its claim here is meritorious.

                        Thomson Consumer is wrong when it suggests that the fact that this is an
       antitrust case alters or skews the analysis. To the extent the Supreme Court in Twombly
       acknowledged the costs of discovery in antitrust cases, it did so in the context of a plainly
       deficient complaint, one with no "reasonably founded hope that the [discovery] process
       will reveal relevant evidence" to support the plaintiffs' claims. Bell Atl. Corp. v.
       Twombly, 550 U.S. 544, 559 (2007) (internal quotations omitted). That is decidedly not
       the case here—as demonstrated by the fact that complaints virtually identical to Sharp's
       have survived Twombly scrutiny. See In re Cathode Ray Tube Antitrust Litig., 738 F.
       Supp. 2d 1011, 1016-17 (N.D. Cal. 2010). And in any event, courts have rejected the
       contention that Twombly "support[s] a stay of discovery." Mlejnecky v. Olympus
       Imaging Am., Inc., No. 10-cv-02630, 2011 WL 489743, at n.12 (E.D. Cal. Feb. 7, 2011);
       In re Flash Memory Antitrust Litig., No. 07-cv-0086, 2008 WL 62278, at *3 (N.D. Cal.
       Jan. 4, 2008) ("The [Twombly] Court did not hold, implicitly or otherwise, that discovery
       in antitrust actions is stayed or abated until after a complaint survives a Rule 12(b)(6)
       challenge.").

                       For this reason, Twombly has not been a barrier to discovery in practice,
       nor should it be here. See TriQuint Semiconductor, Inc. v. Avago Techs. Ltd., No. 09-cv-
       1531, Dkt. No. 77, Tr. at 13:13-14 (D. Ariz. Feb. 23, 2010) (declining to stay discovery
       on antitrust claims). Notably, discovery in antitrust cases is appropriate, as here, "where
       guilty pleas have already been entered in a parallel criminal case." In re Graphics
       Processing Units Antitrust Litig, No. 06-cv-7417, 2007 WL 2127577, at *5 (N.D. Cal.
       July 24, 2007).

                       Finally, discovery is appropriate given the balance of the harms here. No
       Thomson entity has responded to discovery requests in this litigation, and we have no
       reason to believe that discovery from other defendants is a good substitute. For one
       thing, the existing record reveals that recipients were often told to destroy the documents
       after reading. See, e.g., Ex. F (MTPD-0497049-53) ("*Extremely Sensitive / Destroy
       After Reading*"); Ex. G (MTPD-0486917-19) ("Destroy after reading"); Ex. H (SDCRT-
       0086563-66) ("Please dispose of this material after reading it."); Ex. I (MTPD-0492286-
       89) ("This type of communication may raise a cartel red flag. No forwarding please!
       Please delete after reading."); Ex. J (TSB-CRT-00041620-23) ("destroy after reading").
       Moreover, some documents, like communications between Thomson Consumer and
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      Thomson S.A. pertaining to the conspiracy, would not exist in any other defendants'
      files. Here again, resolution of Thomson S.A.'s motion to dismiss for personal
      jurisdiction could depend on these documents, as Sharp alleges that Thomson Consumer
      participated in the conspiracy through Thomson S.A.

                     In short, the existing discovery is simply no substitute for full discovery
      against Thomson Consumer and does little to mitigate the prejudice to Sharp in staying
      discovery. In contrast, there will be no prejudice to Thomson Consumer, as Sharp has
      demonstrated the merits of its complaint, and potential for wasted expense and effort on
      discovery is low.

                    For these reasons, Sharp requests that this Court order discovery to
      proceed against Thomson Consumer.


                                                 Respectfully submitted,



                                                 Craig A. Benson


      cc: Counsel for Thomson Consumer
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                                                 Subject: *Extremely Sensitive / Destroy After Reading * ASEAN Meeting
                                                          (18May04)

-------------------------forwarded by Masaru Ohmori/tddt/th On: 2004/5/21 14:50 ----------------

             Nishimura Kazutaka <kazutaka.nishimura@sel.mec.mei.co.jp> 2004/05/21 14:40:50

To: Tomoyuki Kawano <tomoyuki.kawano@sel.mec.mei.co.jp>, Nishi Yama <nishiyama@sel.mec.mei.co.jp>, Yasuo Tanako
     <yasuo.tanaka@sel.mec.mei.co.jp>, Masahio Sato@sel.mec.2mei.co.jp <masahiko.sato@sel.mec.mei.co.jp>, Katsumi
     Takagi <katsumi.takagi@sel.mec.mei.co.jp>, PAN19699 <PAN19699@sel.mec.mei.co.jp>, Yasuki Yamamoto
     <Yasuki.yamamoto@sel.mec.mei.co.jp>, Usuda Yukio <usuda.yukio@sel.mec.mei.co.jp>, Kazutaka Nishimura
     <kazutaka.nishimura@sel.mec.mei.co.jp>, PAN56548 <PAN56548@sel.mec.mei.co.jp>, PAN19460 <sel.mec.mei.co.jp>,
     koji.orita@mtpdj.mei.co.jp, kazuhiro.nishimaru@mtpdt.mei.co.jp, kazuteru.yasukawa@mtpdj.mei.co.jp,
     masaru.ohmori@mtpdt.mei.co.jp
cc:
Subject: *Extremely Sensitive / Destroy After Reading * ASEAN Meeting (18May04)

Kawano GM
Nishyama GM – Sanogawaya TL – Takagi TL – Sato TL
Tanaka GM – Yamamoto TL – Supervisor Usuda
(I) Yasukawa GM – Morita M
(M) Togawa GM
(T) Omori SM – Nishimaru M
BMCC Division Director Ueda
(14 individuals listed above)

I accompanied Yasukawa GM and Tomori GM to the ASEAN Small/Mid-Size Meeting on May 18
(Tuesday). I am reporting on the content.

There is no password protection, but please treat the substance as extremely sensitive, and do not
forward or save this message.
It is being sent only to the 14 individuals listed above.

Mr. Yasukawa, Mr. Tomori:
If you have anything to add, please do so.
If you do so, please remove the file attachment before sending.

END
Nishimura
***********************************************




Confidential                                                                     MTPD-0497049E_Translation
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                                                          5-18-2004_ASEANMTG.doc




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                                                                      : UP
                                                                      : Down
                             (Unit:KP)                                                 Ratio ( VS Capa)
                                    MTG on 23.Apr.04          MTG on 18.May.04
                               Capa(Kp/M)    2Q04(kp/M)   2Q04(kp/M)   3Q04(kp/M)        2Q04      3Q04
SDI   SDI(M)     14"/16"             400           400          400              400       100%      100%
                 15"F                 70            70           70               70      100%      100%
                 20"/21"             130           130          130              140      100%      108%
                 21"F                230           220          220              220       96%       96%
                 TTL                 830           820          820              830       99%      100%
      SDI(Shenze 21"/21"F            250           250          250              250      100%      100%
      SDI(Korea) 21"F                 70            70           70               70      100%      100%
      TTL                          1,150         1,140        1,140            1,150       99%      100%
LPD   LPD(I)     14"                 260           260          260              260      100%      100%
                 20"                 240           240          240              240      100%      100%
                 21"
      LPD(Korea) 21"/21"F            280           270          270              280       96%      100%
      LPD(Chansa21"/21"F             410           410          410              410      100%      100%
      TTL                          1,190         1,180        1,180            1,190       99%      100%
CPT   CPT(M)     10"
                 14"                 580           510          510             510       100%      100%
                 15"F                               70           70              70
                 20"                 160           160          160             160       100%      100%
                 21"R                350           330          330             340        94%       97%
                 21"F
      TTL                          1,090         1,070        1,070            1,080       98%       99%
T-CRT T-CRT      14"                 220           220          220              220      100%      100%
                 20"                  90            90           90               90      100%      100%
                 21"R/21"F           260           250          250              260       96%      100%
      TTL                            570           560          560              570       98%      100%
MTPD MTPD(I)     14"                 100           100          100               90      100%       90%
                 20"                 100           100          100              100      100%      100%
                 21"                  40            40           40               50      100%      125%
                 TTL                 240           240          240              240      100%      100%
      MTPD(T) 15"F                    30            30           30               30      100%      100%
                 21"F                300           240          240              220      100%      100%
                 25"F                               60           60               80
                 TTL                 330           330          330              330      100%      100%
      MTPD(M) 10"                     30            30           30               10      100%       33%
                 15"F
                 21"F                310           220          220             300        71%       97%
                 TTL                 340           250          250             310        74%       91%
      DDI        20"                 180            20           20                       100%      100%
                 21"F                              160          160             180
                 TTL                 180           180          180             180       100%      100%
      BMCC       14"                 220           220          220             220       100%      100%
                 21"R                220           220          220             200       100%       91%
                 21"F
                 TTL                 440           440          440              420      100%        95%
      G-TTL                        1,530         1,440        1,440            1,480       94%        97%

5 Company TTL                      5,530         5,330        5,330            5,390        96%       97%

        By size          S         1,910         1,910        1,910            1,880      100%        98%
                         M         3,620         3,420        3,420            3,510       94%        97%
                   TTL             5,530         5,330        5,330            5,390       96%        97%


                                                                                                  MTPD-0497051/FC 3Q04
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                                                                                                                                             2004-4-23(Fri)



3Q04 Price G/L
                    18-May-04     MTG Result on 23.Apr.04
           Size                       L                 S                               T                 C                       M
                   3Q04 G/L          1Q      2Q        1Q               2Q             1Q       2Q       1Q         2Q            1Q        2Q
Funai      14         $19.5        $18.50 $19.0(Apr) $18.30         $18.8(May)       $18.50      -     $18.30      $19.3(Apr) $18.00      $18.00
           20           -             -       -         -                 -             -     $35.00   $33.50      $34(Apr) $34.00 $32.00
           21           -             -       -         -                 -             -        -        -            -           -         -
          21PF          -             -       -      $45.00               -             -        -        -            -           -      $40.50
JVC        14         $19.5        $18.00 $19.00 $18.50             $18.5($19Nego)   $18.50   $18.50      -            -           -         -
           20           -             -       -         -               -               -        -     $36.50(ITC) $36.5(ITC)      -         -
           21           -             -       -       $38(I)          $38(I)         $35.00   $35.00        -          -           -         -
          21PF          -             -       -      $46.00                          $46.00      -          -          -       $45.00
Sanyo      14         $19.5        $18.00 $18.5(Apr)    -                 -             -        -          -          -       $18.30 $20.0(KIT)
           20           -          $34.00 $34.00        -                 -             -        -          -          -           -         -
           21           -          $35.00 $35.00        -                 -             -        -          -          -           -      $37.50
          21PF          -         $51.50(ITC)                                           -                   -                 $45.5(Bare)
SREC       14         $19.0        $18.00       $18.5(May) $18.00   $18.5(May)          -        -      $18.00 $18.5(Apr) $18.00 $18.5(May)
           20           -             -            -      $34.00    $35(May)            -        -          -          -       $33.00 $33.00
           21           -          $35.00       $35.00    $34.50    $35(Nego)           -        -      $35.00 $35.00              -         -
          21PF          -          $45.40                 $46.80                        -        -          -          -       $46.00
Thomson 14(ITC)       $23.5           -            -      $20.80    $22(Apr)         $21.50   $22.50    $21.00 $22.0(Apr)          -         -
           20           -             -            -         -         -             $36.50   $37.00    $36.50 $36.50              -         -
           21           -             -            -         -         -                -        -          -                      -         -
        21PF(ITC)       -          $50.00          -         -         -                -                   -                      -         -
World    14(ITC)      $22.0           -            -         -         -             $21.00   $22.00    $21.00 $22.00              -         -
           20           -             -            -         -         -             $36.00   $36.00    $36.00 $36.00              -         -
           21           -             -            -         -         -             $38.00   $38.00        -                      -         -
          21PF          -             -            -         -         -                -               $49.00                 $49.00        -
Vestel     14      $23.5(G/L)      $22.50       $22.50       -         -             $21.50   $23.50    $21.00 $22.50 $21.50 $24.50
                  $24.5(Target)                                                       FOB                FOB                    FOB        FOB




                                                                     2/2                                            MTPD-0497051/3Q04 Price guide line
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                        May 18, 2004 ASEAN MTG (Small and Mid-Size Units)


Time: May 18, 2004 (Tuesday) 9:00 ~ 18:00
Location: Malaysia, Kuala Lumper
Attendees:
SDI:           Mr. D. E. Lee (Sales, Malaysia), Mr. Kevin Park (Marketing, Korea)
LPD:           Mr. Il-Gyu Kang (CPT Export Team, LPD Korea), Mr. Edmond Park (Marketing Asia Pacific, Korea)
CPT            Mr. S. J. Yang (Assistant VP, Sales & Marketing, Taiwan), Mr. Chen Shih Ming (Director, Malaysia)
T-CRT          Mr. Montri (Senior Manager, Sales, Thailand), Mr. Sirichai (Manager, Sales)
MTPD           Mr. Yasukawa (Indonesia), Mr. Tomori (Malaysia), K. Nishimura (Takatsuki)

Points
    Each company's operation status (2Q (April ~ June), 3Q (July ~ September)
       Reference attached Excel file.
    3Q (July ~ September) Price Guidelines
All companies were in agreement to raise the price on small tubes, but only MTPD supported a price
increase on mid-size tubes. There were discussions through the end of the day, but the small tube price
guidelines was completed.

        Reference attached Excel file.
        Small tube
             All were in agreement that the tight conditions would continue in the 3Q (July ~
             September) because of the influence of things such as the glass supply shortage and the
             reduction in CPT lines (some shared lines will become specialized in CDT production
             lines).
             Based on this, further price increases are possible, and the guideline was established for a
             $0.50~$1.00 increase compared to 2Q (April ~ June). 3Q price negotiation was agreed to
             be conducted.
             There was a claim that MTPD failed to take actions in relation to Funai. Furthermore,
             there was an opinion that further price increase should be made after MTPD's success.
             MTPD explained that while the negotiations are currently conducted and no decision has
             been reached, current policy is to make the 14" and 20" prices in-line with other
             companies.
        Mid-Size Tubes
             Other than MTPD, the demand of mid-size tubes among the four other companies which
             participated in this meeting was balanced (there is a surplus in PF), and there is a
             difference with the situation at MTPD which is facing a tightness.
             Other companies noted that the Chinese domestic market sales of mid-size units have been
             sluggish (since May), and their CPT surplus has been increasing. The demand in China
             needs to be monitored continuously.
             MTPD urged that, while there is an issue of the supply and demand balance with CPTs,
             each company must have been implementing the direct material costs, and the increase in
             direct material cost should be passed on to the price, but because of the above background,
             the agreement on the price increase of mid-size tube was failed to be obtained.
             The situation is becoming more difficult because other companies are not raising prices of
             mid-size tubes.




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            CPT and T-CRT commented that AK tube quality level is sufficient for the Chinese
            market. The two companies do not have development capabilities, so they appear to be
            having difficulty trying to figure out future strategies.
       Other Topics
            Pricing to Orion (separately from CPT)
                The content of the offer submitted to Orion by MTPD was informed to CPT on May 6.
                We requested to go along with us.
                It was agreed to take action to make $48 $50 for 21" F. This week there will be a
                telephone conference between Chairman Ohtake and [Chungwha's] Chairman. We
                were informed that General Manger of CPT Sales will take action so that the
                negotiation will be conducted according to the content noted above in advance. The
                result will be confirmed later.
                CPT's current price on the 29" PF is $94 (ITC). They said that due to the late start,
                they would like to make MTPD price -$1, but this transaction has just been started
                and, also, it would be difficult for [Chungwha] to bring up the price increase since
                they currently have only a small lot order for W/M (2~3kp/M). However, the material
                price increase is said to be about $4, so they still have somewhat of a desire to raise
                the price. We told that we want to at least win a MIN$2, and they said the matter
                would be brought back for further examination.
            SDI
                Since MTPD won the order of all volume of the 2004 21" PF for Funai based on
                MNN/AK, to regain the transaction, they are progressing with the development of an
                MNN tube.




                                                                                       End
                                                                                       Nishimura




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               “kazuteru yasukawa”                                  To:        “Tomoyuki Kawano” <tomoyuki.kawano@sel.mec.mei.co.jp>,
               <kazuteru_yasukawa@mtpdj.mei.co.jp>                             “Hirokazu Nishiyama” <nishiyama.harry@pas.mei.co.jp>,
               August 02, 2004 13:51                                           “Yasuo Tanaka” <MPAN8014.sel.mec.mei.co.jp>, “yasuhisa
                                                                               ootake” <yasuhisa_ootake@mtpdj.mei.co.jp>, “koji morita”
                                                                               <koji_morita@mtpdj.mei.co.jp>, “tomoharu inoue”
                                                                               <tomoharu_inoue@mtpdj.mei.co.jp>, “Masaru Ohmori”
                                                                               <masaru_ohmori@mtpdj.mei.co.jp>, “Kazuhiro Nishimaru”
                                                                               <kazuhiro_nishimaru@mtpdj.mei.co.jp>, “Yasuaki Tomori”
                                                                               <PAN56548@pas.mei.co.jp>
                                                                    cc
                                                                    bcc
                                                                    Subject    Asia Meeting (mid and small size) Destroy after reading


Sending is restricted to the specified members listed below.

Takatsuki General Sales and Purchasing Department
Vice President Kawano, GM Nishiyama, GM Tanaka

MTPD (I) P Ootake, M Morita, M Inoue
MTPD (T) SM Ohmori, S Nishimaru
MTPD (M) GM [Tomori]

(See attached file: Saving strictly prohibited and destroy after reading July 2004.doc)



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Date & Time:          July 22, ’04 ASEAN Meeting (Mid- & Small Models)
Location:             Singapore Conrad Hotel
Attending:            SDI Mr. Jaya (SDIM), 1 person (Marketing, Korea)
                      LPD Mr. S. D. Lim (LPDI), Mr. Edmond Park (LPD Marketing)
                      CPT Mr. S. J. Yang, Mr. Chen Shih Ming (Malaysia)
                      T-CRT Mr. Motonari, Mr. Shirichai
                      MTPD K. yasukawa

Points
1. Situation of Raising Prices
   Except for the 14 inch for SREC (3Q $18.5), up to $19, they were out in line.
   Expectations are that SREC also will be able to achieve $19 in 4Q.
   For any further price raising, without opinions specifically emerging from any
   company, it is a feeling of watching the situation.

2. Production Trends
SDI:          They dropped it to 280k due to shortage of glass bulbs in 14-inch 3Q.
              15-inch demand increasing amounts in Samsung TV’s They increased it
              70k    100k.
LPDI:         Due to 14-inch glass bulb shortage from Samsung Corning, it stopped at
              July 30k.
CPT:          They had made 3Q’s production to be 540k, but with the glass bulb
              shortage it turned out to be a shortage of 3Q total 100k.
              From the bulb makers it is being said that the total numbers are decided
              upon and they want a decision made at Chuka on whether they will make
              them CDT or CPT.
T-CRT:        They have 100k 14-inch panels that are dark tint but they have the
              headache that they can’t get them used due a service problem even if
              they can get customer approval.
From Funai, a requirement for 20-inch increased quantities has come in but they heard
about other companies’ situations.
       Chuka is supplying 55k • month and T-CRT is 10k • month, but even though
       there are requests for increased quantities from Funai, both companies made it a
       reply of 0.
It seems that all the companies have an interest in the 21-inch PF iron mask, and are
proceeding with development for the next fiscal year.

3. 4Q Demand Trends (Mid- & Small Models)
   Europe is entering the low season. CIS is growing, and orders are in for through
   December.
   There is a little too much inventory of Chinese TV’s but there is the trend of having
   inventory for the lunar New Year and they are looking at it that it will still grow.
   The Indonesian market is growing fast at about a 30% increase compared to last
   year.
   North America will enter into the shoulder season but the shortage situation
   continues due to there not being enough items because of Hari Raya.


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4. Miscellaneous (heard about the anti-dumping problems from T-CRT Mr. Montri)
   In Year 2002 the Thai government set up the Import/Export Control Division, and
   proceeded with investigations targeting 23 items (including CPT’s).
   With regard to CPT’s, imported CPT’s were 19 million US$ in FY2003, and based on
   13 million coming in from Malaysia, the government embarked on the dumping.
   From T-CRT, they warned the government that if it continues this way the TV set
   makers would go to another country but the fact was that they had already made up
   their mind, and it was made such that retracting the filing of the suit was not possible.
   The government itself could not file suit, so T-CRT was used.
   In the future, it will take 6 months to firm up the figures but the situation is that
   currently they are sending letters of questions to Thai TV makers, Thai CPT makers,
   and Malaysian CPT makers.
   T-CRT thinks that the dumping this time is not feasible but based on the reply
   contents of the letters of questions, they are fearing views emerging that have
   differed, and in these letters of questions, they are saying to each company that they
   want them to answer honestly.
   And, for the figures that T-CRT is submitting to the government, they are making it
   possible to distribute them to each related company.

   The meeting next time, is in Taiwan on September 17.




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                         CDT Industry (March of ’99) Meeting Results


                                                                                       March 8, ‘99

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1. Major agreements

   1) To reduce the production of 17” monitors in April of ’99 (25-day operation)
      → If necessary, reduce by 10% entirely in the 2nd quarter and then check monthly.
      → Submit production reduction plans (25-day operation plan) by next week and adjust/check the
      production by forming a separate monitoring team.

   2) To increase the price by at least $5 starting May of ’99 (MPR II $98 → $103)
      → Increase in the price of a material (glass) and increase in cost due to the appreciation of the dollar

   3) To integrate the communication lines with the Japanese companies (Philips) in order to transmit
      the industry atmosphere and to induce participation
      → If the Japanese companies do not increase their prices, the CDT price of the 5 companies will be
      equal/greater than the CDT prices of the 5 Japanese companies, so the participation of the Japanese
      companies is important

   4) 19” CDT prices
         · 0.26D TCO $185
         · Chunghwa: 0.28D TCO $175, MPR II $170
         · Short length: normal price + $10

   5) It was agreed to reply to the results of all agenda/issues within 24 hours.

   6) Next management meeting
         · Date: April 14, ’98 14:00 ~
         · Held by: Orion
      ※ The date of the next top meeting will be decided at the next management meeting
         (Held by Philips)

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2. Market update

   □ Chunghwa
     · 14”: 150K units are produced per month and there is a possibility of recovery in demand
     · 15”: Very slow, production at the rate of 700-750K per month
     · 17”: Demand is very strong → Orders in April and May are OK
            600-650K/production forecast in March of ‘99
            → Demand reduction signal visible
        ※ Lite-on is reported to be offering 17” monitors in Europe for $155.


   □ SDD
     · 17”: The demand seems to have been decreasing since March (hunch)
     · Demand is trending downward gradually.
       ※Hitachi production : 200K/98.11 →130K/’99.3→400K/2Q


   □ Orion
     · 14”: 0.5 line is being operated, but the line will stop operating 2 to 3 months later.
        → 15” mini neck production forecast
     · 15”: OK

   □ LG
     · 17”: Customers are aware that demand is decreasing and supply is increasing in the 2nd quarter, so
        caution (production reduction) is necessary
        1Q: OK, 2Q: watch out
     · 19”: March production is forecasted at 72-80K in March of ‘99
        ※ LG monitor production (’99): 7,500K

   □ Philips
     · 14”: Demand recovery signal
     · 15”: Soft
     · 17”: March is OK, April is manageable, 2Q: critical
     · 19”: 20-30K/March production → Philips’ monitors are mostly for internal use

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3. Major agreements

1) Capacity expansion (’99)

      LG: 1 17” CDT line in Changwon (modified the medium CPT in 2Q of ‘99)
      CPT: 1 17” CDT line in Malaysia (modified the 14” CPT in 3Q of ’99)
      Orion: 1 19” CDT line in Gumi (modified the CPT in 3Q of ’99)
      SDD: Installed/modified 1 line in Tianjin and 0.5 line in Malaysia
      Philips: No installation/modification plan

2) Cathode ray tube supply/demand

   □ Overall, excess supply of 20-25% is expected. Especially, it is expected that the excess supply situation
     will worsen in the 2nd quarter of ’99.

   □ Excess supply of 17”/19” CDT’s and imbalance of models are worsening.

   □ In order to at least maintain the current price level or increase the price level, it is necessary to reduce
     production by at least 10% when taking the margin of 10% into consideration.

   □ In the 3rd quarter and 4th quarter, imbalances of models and excess supply are expected. However, due
     to the shortage of glass, there is a possibility that the excess supply situation will be alleviated.
     → In the next meeting, the preference/ranking of glass companies (CPT/CDT) will be reported by SDD.

3) Glass supply/demand

   □ The demand for CDT’s was calculated as 94M and the demand for CPT’s was calculated as 146M. The
     consumption rate for each model was calculated as 5-7%.

   □ When the cold repair plans are taken into consideration, balance of supply and demand is expected in the
     1st half of ’99 and a shortage of 10-15% is expected in the 2nd half.




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4. Miscellaneous agreements and information

1) 19” CDT prices

   □ Hitachi: $200 (Converted from yen basis to dollar basis)
     MEC: $200 ↓ (S/L), which is the same price as the price of Hitachi’s long length monitors.
     ※ LG/Philips offered 19” monitors below $300 (OEM).
     ※ MAG → Gateway (17”” $200 19” $285)

2) LG’s low price offer for 15” CDT’s
    □ Chunghwa complained strongly about LG’s low price offer for 15” CDT’s.
           · A class customer such as Chuntex and ADI: $3-$5 down
           · Medium scale customers such as KFC and GVC” $2 - $3 down
           · Others: Delta
    □ LG denied strongly, stating that LG doesn’t have any transactions with GVC.
       → Details of transactions(Taiwan Office) will be investigated, and it was agreed to maintain the current
       price level.

3) Miscellaneous

   □ The prices of 15” mini neck monitors (SDD): The prices differ depending on the customer by $1 to $2
     dollars. However, the same price will be applied to all customers 2 to 3 months from now.

   □ Chassis price (Philips)
        · 14”/15”: $30, 17”: $40-$45, 19”: $60-$65


   □ Price increase of LG monitors
         · 15”/19”: Completed the price increase negotiation with PC makers
         · 17”: Discussion in progress

                                                                                      - End –

       ※ Detailed supply/demand data is kept by Manager Jae In Lee (from Philips)

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January 9, 2013




Certification

                                Park IP Translations


This is to certify that the attached translation is, to the best
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_______________________________________

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            Nishimura, Kazuyuki




                                                                           Subject: China (M)’s status and Skills

All.
(I am) resending this since the (previous email) was converted into symbols.

We received the following information from CPT(M) Sales Director.
It looks like the inventory of 21FS China is excessive – is this because of over production prior to the National Day of the People’s Republic of China?
It is also concerning that the European model is not doing well.

Just for your reference.
This type of communication may raise a cartel red flag.
No forwarding please! Please delete after reading.

Nishimura

Forwarded by Nishimura, Kazutaka




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Subject: LG CDT information (destroy after reading)

Today, I’m reporting below on the meeting we had.

Those present: Kane Hoshinori Electric Tubes 1 – OBU production 1 TEAM leader/head of
department

          NOH LG Electric Japan vice-leader/OEM business team

TSB: (CD support) Yamamoto

(1) LG CDT MONITOR market look. (Comparing with TSB)
    2000 (year)
                 TSB        LG

15 inch                          40mil            36mil

17 inch                          56               55

19 inch                          11               9

Other                            11               10

Total                            118              110

Compared with last year          +16%             +10%

While the trend is similar, the TSB is looking at a larger growth rate.

LG is thinking more pessimistically about the 15 inch demand.

(2) LG manufacturing situation (CDT)




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    15 inch (3 lines available) 600k/M (In that, the MIN is 30k/M)
    17 inch (4.5 lines) 800k/M (Said this is the MAX)
    19 inch (1 line) 150k/M (They said they want to make this 200k/M. With 1 line)

Overall, from February to May, due to sluggish orders, production was adjusted. 2-5 working
days/M

(It looks like this is a matter of discussion between the 5 companies)

*17 inch FLAT is right now at 1 line, with an output of 100k/M

From one point, there is already a plan to produce one line. With manufacturing not catching up
with satisfactory orders, the sales side has a strong push. However, they said the yield rate is 2/3
of general tubes. (At this point in time, the pattern is that sales contacts are all company internal)

* 19 inch FLAT begins production now. The general tubes sales contacts are GATE WAY: 60k/M, HP
and VIEW SONIC together: 20-30K/M, within Korea: 20-30K/M, exports 40-50K/M

For 19 inch orders, it looks like there is around 200K/M? It looks like they say they want to raise
the production efficiency and somehow get 1 line to produce at 200K/M.

Regarding the cost, with awareness that the market price has hit $130, there was a statement that
down to $120 there are absolutely no problems.

* Regarding 15 inch MIN, right now at a production of 30K/M. For the manufacturing side the
productivity is dropping, the COST 29 is comparatively high, they don’t want to produce it but they
are being told by customers (ADI?) to, and are reluctantly doing so. (As the production manager
this is expected?)

As for the conversation about the 15 inch general cost, they made a comment that if the sales
price drops to $60, it becomes an extremely difficult situation.




** Further, in regards to the Apple 15 inch matter, there is the following comment below that
they’ll try to arouse their interest.

Currently at LG, they are for the most part not producing any Apple 15 inch (IMAC) monitors. The
reason is that LG gave the OEM to a Taiwan monitor producer (the same person was unclear if it
was AOC, SHAMROCK or somewhere else).




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In the beginning, it was LG bulbs, but according to APPLE’s instructions, they changed to Chungwa
bulbs. However, Chungwa bulbs were of bad quality, so they were told to change back to LG bulbs
(by APPLE).

(3) Regarding glass shortage
    In regards to the comment about price, there was a very subtle expression, and I couldn’t
    catch his real intentions, so I’m putting the comment below.

    Currently with CDT/CPT, the CPT-use has an occurrence of a glass shortage. However, the CDT-
    use doesn’t have a shortage yet. However, the raise in price for both the CDT/CPT began
    underground, and it is already decided. (Details unknown)

    TET, SCKE, TEA, TEAL: please gather market info. - - - Information on the price rise.

    That is all.
    Yamamoto




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